                        UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

In re:
                                                            Chapter 11
ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, a New                              Case No. 18-13027-t11
Mexico corporation sole,

                  Debtor-in-Possession.

ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE,
a New Mexico corporation sole,

         Plaintiff,
v.                                                   Adversary No. 20-01026-t

The U.S. Small Business Administration
and Jovita Corranza, solely as the Administrator
of the U.S. Small Business Administration,

         Defendants.

     MOTION FOR EMERGENCY HEARING ON COMPLAINT FOR DECLARATORY
          JUDGMENT, WRIT OF MANDAMUS, AND INJUNCTIVE RELIEF

         The Roman Catholic Church of the Archdiocese of Santa Fe (the “Plaintiff”), pursuant to

5 U.S.C. § 706 and 28 U.S.C. §§ 2201 and 2202, moves the Court for an Emergency Hearing on

the Debtor’s Complaint for Declaratory Judgment, Writ of Mandamus, and Injunctive Relief (the

“Complaint”) (Doc. No. 1), and as grounds, STATES:

         1.      The Debtor filed the Complaint on April 22, 2020. See Doc. No. 1.

         2.      The Court issued summonses to the Defendants on April 23, 2020. See Doc. No. 2.

         3.      The Debtor filed Verification of Complaint for Declaratory Judgment, Writ of

Mandamus, and Injunctive Relief executed by Tony Salgado on April 23, 2020. See Doc. No. 3.

         4.      On April 23, 2020, Plaintiff served the Defendants with the Complaint, summons,

and Verification. See Certificate of Service filed April 24, 2020 as Doc. No. 4.



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        5.      Under the Coronavirus Aid, Relief, and Economic Security Act, H.R. 748 (the

“CARES Act”), Congress and the President temporarily added a new program entitled the

“Paycheck Protection Program” to the SBA’s 7(a) Loan Program (hereinafter referred to as the

“PPP”).

        6.      The Complaint requests, inter alia, that the Bankruptcy Court enter preliminary and

permanent injunctive relief enjoining the Defendants from denying Plaintiff a loan under the PPP

based on Plaintiff’s status as a chapter 11 debtor.

        7.      The funds originally authorized to be distributed under the PPP have been

exhausted. The Debtor believes that additional funding will be made available by Congress, but

anticipates that such funding will also be rapidly exhausted. Therefore, the Debtor requests that

the Court schedule an emergency hearing on the Complaint, on the grounds that it is urgent that

the Debtor be authorized to apply for and obtain lending under the PPP while the funds are still

available.

        WHEREFORE, Debtor hereby requests that the Court schedule an emergency hearing on

the Complaint on short notice to the Plaintiff and the Defendants and grant the Debtor all other

just and proper relief.


                                              Respectfully submitted:

                                              /s/ Thomas D. Walker
                                              Thomas D. Walker
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In accordance with NM LBR 9036-1 and
Fed. R. Civ. P. 5(b)(3), this certifies that service
of the foregoing document was served this 24th
day of April 2020, via the notice transmission
facilities of the case management and electronic
filing system of the Bankruptcy Court.

s/filed electronically 4/24/2020
Thomas D. Walker




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